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                           United States District Court
                                     for the
                           Southern District of Florida

  RPM Diesel Engine Company,            )
  Plaintiff,                            )
                                        )
  v.                                    ) Civil Action No. 20-23009-Civ-Scola
                                        )
  M/Y “Liquid Assets” and Harvey
  Hernandez, Defendants.
                              Order of Dismissal
         The Plaintiff has dismissed this case with prejudice consistent with
  Federal Rule of Civil Procedure 41(a)(1)(A)(i). (Not. of Dismissal, ECF No. 13.)
  The Court dissolves the warrant of arrest in rem and directs the Clerk to close
  this case. All pending motions are denied as moot.
        Done and ordered at Miami, Florida on August 3, 2020.


                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
